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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                                      CASE NO. 18-cv-22923-DPG


  JELEN CARPIO,
  as personal representative of the
  estate of DIOGENES CARPIO, JR.,

          Plaintiff,

  v.

  NCL (BAHAMAS) LTD.,
  D-I DAVIT INTERNATIONAL, INC.,
  HATECKE SERVICE USA, LLC., and
  D-I DAVIT INTERNATIONAL-HISCHE
  GMBH,

          Defendants.
                                          /

                                      AMENDED COMPLAINT

          COMES NOW, Plaintiff, JELEN CARPIO, as personal representative of the estate of

  DIOGENES CARPIO, JR., and sues the Defendants NCL (BAHAMAS) LTD., D-I DAVIT

  INTERNATIONAL,            INC.,   HATECKE           SERVICE        USA,   LLC.,    and    D-I      DAVIT

  INTERNATIONAL-HISCHE GMBH, and alleges as follows:

                                     GENERAL ALLEGATIONS

                                                 a. Jurisdiction

       1. This is an action for the death of the decedent on behalf of the Estate and all survivors

          and beneficiaries under the Jones Act, 46 U.S.C. §3104; the General Maritime Law of the

          United States; the Death on the High Seas Act, 46 U.S.C. § 30301 et seq., and any other

          applicable wrongful death law, seeking damages in excess of the jurisdictional minimum,



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        exclusive of costs, attorneys’ fees and interest.

     2. Plaintiff, Jelen Carpio, as a Personal representative for the Estate of Diogenes Carpio, Jr.,

        deceased [hereinafter “decedent”], is a citizen and resident of the Philippines. Plaintiff

        brings this action on behalf of the Estate and on behalf of all survivors who are entitled to

        recover including, but not limited, to:

        A. Jelen Carpio, Wife;

        B. Terrence Jude O. Carpio, minor child (10), born September 28, 2007.

        C. Jillian Denise O. Carpio, minor child (8) born June 29, 2010.

     3. Diogenes Carpio was a citizen of the Philippines and employed as a seamen, working for

        the Defendant Norwegian Cruise Lines (Bahamas) Ltd. [hereinafter “NCL”] as a second

        officer of the Deck Department.

     4. Defendant NCL is a Bermuda corporation with its principal place of business in Miami,

        Florida, where it engages in extensive business activities.

     5. Defendant D-I DAVIT INTERNATIONAL, INC [hereinafter “Davit International”] is a

        foreign for profit corporation registered to do business in Florida with offices and an

        officer/director in Ft. Lauderdale, Florida.

     6. Defendant HATECKE SERVICE USA, LLC [hereinafter “Hatecke”] is a Florida Limited

        Liability company registered to do business in Florida with offices in Miami, Florida.

     7. Defendant D-I DAVIT INTERNATIONAL GMBH [hereinafter “Davit DE”] is the

        parent company of Davit International.         Davit DE is a foreign for profit corporation

        doing business in Florida through its agent and/or representative, Davit International.

                                       b. Status of the Parties

     8. At all times materials hereto, the Defendant NCL owned, operated, managed and/or



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        controlled the Norwegian Breakaway, and was the employer of Diogenes Carpio.

     9. At all times material hereto, Davit International and/or Davit DE, was the manufacturer

        and/or seller of the davit(s) which was/were incorporated into the lifeboat system used

        aboard the Norwegian Breakaway.

     10. At all times material hereto, Davit International and/or Davit DE provided aftersales

        customer support to Defendant NCL, as to all aspects of the davits and lifeboat systems,

        including but not limited to annual and periodic inspections accordance with required

        SOLAS, IMO and other applicable industry standards, as well as maintenance, repairs,

        technical help and crew training.

     11. At all times material hereto, Defendant Hatecke provided service, maintenance, repairs,

        inspection and/or surveys of the lifeboat systems aboard the Norwegian Breakaway, and

        certifying that each lifeboat systems’ fitness for their intended use in accordance with

        required SOLAS, IMO and other applicable industry standards.

     12. At all times material hereto, Diogenes Carpio was a seamen under the Jones Act, because

        the Defendant NCL maintained its base of operations in the United States, the Defendant

        NCL was publicly traded on the New York Stock Exchange, an extremely substantial

        amount of the Defendant’s revenue is derived by its operations in the United States and

        through the sale of cruise tickets to U.S. passengers, and the Defendant’s vessel upon

        which the decedent was injured and regularly sailed out of U.S. ports as did the majority

        of Defendant’s fleet, in addition to other contacts with the United States.

     13. Since the Decedent Diogenes Carpio was a Jones Act seamen, the Plaintiff is entitled to

        the federal statutory remedies set forth in the Jones Act, 46 U.S.C. §3104 and the Federal

        Employers Liability Act, 45 U.S.C. §51 et seq incorporated therein by reference, the



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         Death on the High Seas Act 46 U.S.C. § 30301, as well as the remedies guaranteed by the

         United States Supreme Court set forth as part of the general maritime law for seamen.

                              c. Facts Giving Rise to the Cause of Action

      14. On July 20, 2016, Diogenes Carpio was working on board the Defendant's vessel,

         Norwegian Breakaway, carrying out job duties assigned to him. The vessel was in

         navigable waters around Bermuda.

      15. Decedent Diogenes Carpio was assigned to conduct and assist in an unusual amount of

         lifeboat drills, such as Code Alpha (Medical Emergency), Code Bravo (Fire onboard),

         Code Delta (Ship damage), and Code Oscar (Man overboard)1. This is more than the

         usual number of drills and for a longer period of time, making it exhaustive on not only

         the participants, but also on the equipment used.

      16. The subject lifeboat system incorporated and utilized a davit which was manufactured

         and sold by Defendant Davit International and/or Davit DE, and the lifeboat system was

         serviced, inspected, certified and/or maintained (at least in part) by Defendants Davit

         International, Davit DE and/or Hatecke.

      17. After entering a lifeboat on Deck 7, the lifeboat detached from the vessel when a securing

         wire in the lifeboat system snapped and/or broke causing decedent Diogenes Carpio to

         fall nearly six stories into the water on top of other seamen participating in the drill.

      18. The search for decedent Diogenes Carpio was delayed and took a considerable amount of

         time because Defendant’s management at the time did not properly inform and direct the

         crewmembers of the actual emergency, resulting in most crewmembers believing that

         when the “Man Overboard” Code was called, it was still part of the drill. Diogenes
  1
    The Man Overboard drill required Diogenes Carpio to board a lifeboat, to be lowered into the
  sea, and then used to retrieve a man overboard in this simulation process.


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        Carpio drowned and met his untimely death, in part, because of the delayed search efforts

        by the crew of the Norwegian Breakaway. Even after the seriousness of the Man

        Overboard code was apparent, the management of the vessel failed to alert real and actual

        emergency personnel.

     19. As a direct and proximate result of Defendant's failure to provide reasonably safe lifeboat

        system, and the delayed search efforts, Diogenes Carpio suffered acute cardio respiratory

        failure from drowning, and died.

     20. As a direct and proximate result of Defendant's negligence, decedent Diogenes Carpio

        met his untimely demise on July 20, 2016.

     21. On November 8, 2016, Plaintiff met with in-house counsel for C.F. Sharp Crew

        Management, Inc., manning agent and legal representative of Defendant NCL in the

        Philippines. Plaintiff requested payment of the death benefits she was contractually

        entitled to receive pursuant to Diogenes Carpio’s employment contract and the applicable

        Collective Bargaining Agreement [hereinafter “CBA”].

     22. In-house counsel made numerous misrepresentations to the Plaintiff, advising her that

        she was not entitled to receive the contractual death benefits without first executing a

        release waiving any and all claims against Defendant NCL and its manning agent C.F.

        Sharp Management, Inc.

     23. In-house counsel then escorted the Plaintiff to the offices of Department of Labor and

        Employment, National Labor Relations Commission (“NLRC”), where she assisted the

        Plaintiff in filing a Complaint in order to initiate the arbitration. In-house counsel then

        instructed the Plaintiff to execute a Release of All Claims, Receipt of Payment and the

        Joint Motion to Dismiss (all documents prepared by in-house counsel) so she could



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        receive the death benefits Defendant NCL was contractual obligated to pay. Relying on

        the representations of in-house counsel, and in need of funds to support her family,

        Plaintiff signed the documents presented to her.         In-house counsel then had the Labor

        Arbitrator approval of the so-called settlement, concluding the arbitration.

     24. In-house counsel purposefully and intentionally failed to have the Plaintiff sign the

        approved Model Receipt and Release Form for Contractual Claims contained in the CBA

        which contains language which would have specifically preserved Plaintiff’s rights to

        “pursue any claim at law in the respect to negligence, tort, or other legal redress

        available.”

     25. Rather, the documents in-house counsel prepared and told the Plaintiff she must sign,

        contained language which waived the rights the were otherwise specifically preserved in

        the approved Model Receipt and Release Form for Contractual Claims. The Plaintiff

        received no new consideration for the Release of any claims against Defendant NCL

        beyond those it was contractually obligated to pay.

     26. At all times material, in-house counsel was Defendant NCL’s legal representative, agent

        and/or apparent agent and all of her actions and statements were done for the purpose and

        benefit of Defendant NCL.

     27. At no time did the Plaintiff, who was still grieving over the tragic loss of her husband and

        trying to raise her young children, ever have the benefit of her own legal representation.

     28. The release is invalid as it was were not freely executed in good faith, at arms-length, or

        in a manner to ensure that the Plaintiff understood her legal rights. To the contrary, in-

        house counsel purposefully and intentionally misrepresented the Plaintiff’s legal rights to

        her and the Plaintiff relied on these misrepresentations to her detriment.



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     29. The release is also invalid for lacking consideration because the amount received was

        something that Plaintiff was already entitled to pursuant to the decedent’s employment

        contract, which (as shown below) stated there was a death benefit that was payable

        without prejudice to any claim at law.

     30. “Questions regarding enforceability or validity of settlement agreements are determined

        by federal law when the substantive rights and liabilities of the parties derive from federal

        law.” See Allem v. Noble Drillin (U.S.) Inc., 637 So.2d 1298 (La. App. 4th Cir. 1994)

        (citing, Borne v. A&P Boat Rentals No. 4, Inc., 780 F.2d 1254, 1256 (5th Cir. 1986).

     31. The release at issue is a contract to abandon maritime death claim under federal law.

        Consequently, federal law must be applied to decide the enforceability of the release. See

        Allen, 637 So.2d at 1301 and Borne, 780 F.2d at 1256 (both stating that federal law must

        be utilized to decide the validity and enforceability of a settlement agreement when the

        plaintiff’s claims are premised on federal general maritime law and the Jones Act).

     32. The controlling legal standard in determining whether a release executed by a seaman is

        valid is the United States Supreme Court case of Garrett v. Moore-McCormack Co., 317

        U.S. 239, 248 (1942). See, e.g., Complaint of Bankers Trust Co., 752 F.2d 874, 884 (3d

        Cir. 1984). Because the relationship between a seaman and his employer is unlike a

        traditional employee-employer relationship, and because seamen are “wards of

        admiralty,” an employer owes a fiduciary duty to its seaman. Richards v. Relentless, Inc.,

        341 F.3d 35 (1st Cir. 2003) (citing Garrett, 317 U.S. at 246). It is for this reason that the

        burden is on the employer to show that the release of claims “was executed freely,

        without deception or coercion, and that it was made by the seaman with full

        understanding of his rights.” Richards, 341 F.3d at 41 (quoting Garrett, 317 U.S. at 248).



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            If there is any undue inequality in the terms, any disproportion in the bargain,
            any sacrifice of rights on one side, which are not compensated by
            extraordinary benefits on the other, the judicial interpretation of the
            transaction is that the bargain is unjust and unreasonable, that advantage has
            been taken of the situation of the weaker party, and that pro tanto the bargain
            ought to be set aside as inequitable.

            Id. at 41-42 (quoting Garrett, 317 U.S. at 248) (internal citations and quotations
            marks omitted).

     33. The release must also be fair to the seaman. Schultz v. Paradise Cruises Ltd., 888 F.Supp.

        1049, 1053 (1994) (citing United States v. Johnson, 160 F.2d 789, 794 (9th Cir. 1947),

        rev’d in part on other grounds, 333 U.S. 46, 68 S.Ct. 391, 92 L.Ed. 468 (1948), (quoting

        Garrett, 317 U.S. at 248)). A court may not “merely rubber stamp the settlement.”

        Schultz, 888 F.Supp. at 1053 (citing Whaley v. Rydman, 887 F.2d 976 (9th Cir. 1989)).

        The employer “bears the burden of proving that the seaman had an informed

        understanding of the significance of the release.” Id. (citing Whaley, 887 F.2d at 979).

     34. “The adequacy of the consideration and the nature of the medical and legal advice

        available to the seaman at the time of signing the release are relevant to an appraisal of

        this understanding.” Blanco v. Moran Shipping Co., 483 F.2d 63 (5th Cir. 1973) (quoting

        Garret, 317 U.S. at 248). While inadequate consideration alone is not sufficient to

        invalidate a release, it will make the burden of enforcing the release “particularly heavy.”

        Orsini v. O/S Seabrooke O.N., 247 F.3d 953, 962 (9th Cir. 2001). Moreover, if

        consideration for a seaman’s release is grossly inadequate, the release will be deemed

        invalid as a matter of law. Id. See also Resner v. Artic Orion Fisheries, 83 F.3d 271, 274

        (9th Cir. 1996). “A release is not valid if what is paid is something to which a [seaman] is

        entitled under any circumstances of the case.” Blake v. W.R. Chamberlin & Co., 176 F.2d

        511, 513 (9th Cir. 1949); see also Isthmian Lines, Inc. v. Haire, 334 F.2d 521, 523 (5th

        Cir. 1964)(noting that a release for payments for amounts admittedly due lacks

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        consideration). The court in Blake explained:

            If, for example, defendant paid to plaintiff money to which plaintiff was
            already entitled, that is, earned wages, earned maintenance, and bonus, and
            things of like character, then if you so find, the taking of the release for other
            things such as damages and future maintenance would be without
            consideration and the release would be void.

     35. The Blake decision is instructive to this case because the $130,000 settlement money

        received would otherwise be entitled to Plaintiff pursuant to the Collective Bargaining

        Agreement [“CBA”], which is incorporated within the Philippine Overseas Employment

        Administration [“POEA”] contract, the decedent’s employment contract with the

        Defendant. The CBA states that “if a seafarer dies whilst in the employment of

        Norwegian,” Norwegian shall pay “$90,000 to the spouse and $20,000 to each dependent

        child under the age of 21.” Accordingly, Plaintiff was already entitled to $130,000 as she

        is the decedent’s spouse and the decedent leaves behind two dependent children under the

        age of 21. The CBA contract further states that “any payment effected under any section

        of [Article 20 – Loss of Life] shall be without prejudice to any claim for compensation

        made in law and made without any delay … and shall be credited toward any further

        claims that [Norwegian] may be responsible for.”

     36. The release should be deemed invalid and/or set aside and/or vacated for the grossly

        inadequate consideration because Plaintiff was otherwise entitled to $130,000 in death

        benefits through the CBA. Clearly, there was no bargained for exchange between

        Plaintiff and Defendant NCL when the release was executed, and thus, the release shall

        be deemed void as a matter of law.

     37. Furthermore, “[i]f the jury finds that the compensation or settlement the seaman received

        was inadequate, it may consider that inadequacy of consideration as evidence that the

        plaintiff did not understand his rights at the time he signed the release.” Richards v.

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          Relentless, Inc., 341 F.3d 35, 48 (1st Cir. 2003) (citing Garrett, 317 U.S. at 247). The fact

          that Plaintiff accepted $130,000 in exchange for giving up her right to the continued

          pursuit of a potentially far greater damagers recovery is positive proof that she did not

          understand her rights at the time she signed the release.

      38. Alternatively, Labor Arbitrator’s rubber-stamped approval of the so-called settlement

          should be deemed the decision of the arbitrator. The Plaintiff is entitled to challenge the

          arbitration decision and raise her public policy defense at the post-arbitration

          enforcement stage. Lindo v. NCL (Bahamas) Ltd., 652 F.3d 1257 (11th Cir. 2011);

          Mitsubishi Motor Corp. v. Soler Chrysler-Plymouth, 473 U.S. 614 (1985).

                   COUNT I SURVIVAL ACTION UNDER THE JONES ACT
                              AGAINST DEFENDANT NCL

          The Plaintiff re-alleges, adopts, and incorporates by reference the allegations in

   paragraphs one (1) through thirty eight (38) as though alleged originally herein.

      39. On July 20, 2016, Diogenes Carpio was employed by Defendant NCL as a seaman and

          was a member of the crew on aboard the Norwegian Breakaway. The vessel was in

          navigable waters in Bermuda.

      40. Defendant owed Diogenes Carpio a duty of reasonable care for his safety, including care

          to maintain the vessel in a reasonably safe condition and to operate the vessel safely and

          to provide a reasonably safe working environment.

      41. Diogenes Carpio death is due to the fault and negligence of Defendant, and/or its agents,

          servants, and/or employees, as follows:

              a. Defendant failed to use reasonable care to provide and maintain a proper and

                  adequate machinery, crew and equipment, including and especially the equipment

                  and machinery for the lifeboat system, as well as the crew involved in the lifeboat


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                drill and the crew involved with responding to the actual emergency at issue;

            b. Defendant failed to update and modernize the shipboard equipment to eliminate

                the unsafe and dangerous conditions that developed;

            c. Defendant failed to properly maintain the equipment involved in the lifeboat

                system, leading to failure of the tethering and the davit wire cord used to lower

                and raise the lifeboat, rendering the operation of the lifeboat unsafe and

                dangerous, and unfit for its intended purpose;

            d. Defendant failed to properly instruct and train the crew members to make sure the

                equipment involved was properly inspected for dangers, and properly operated

                before use;

            e. Defendant failed to ascertain the cause of prior similar accidents so as to take

                measures to prevent their recurrence, and more particularly decedent’s accident;

            f. Failure to provide a safe place to work in that the lifeboat system and operation

                was not performed in a safe manner;

            g. Defendant continued to utilize the lifeboat system even with knowledge of the

                faulty and unsafe equipment;

            h. Defendant failed to provide adequate instruction, and supervision by failing to

                timely alert the crew members of the actual and on-going emergency when the

                decedent and other seamen fell several stories into the ocean;

            i. Defendant failed to use reasonable care to provide decedent with a reasonably

                safe workplace;

            j. Defendant failed to promulgate and enforce reasonable rules and regulations to

                insure the safety and health of the employees and more particularly the decedent,



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                  while engaged in the course of his employment on said vessel;

              k. Defendant used outmoded work methods and procedures and neglected modern

                  material handling techniques;

              l. Defendant failed to provide decedent with mechanized aids, commonly available

                  in other heavy industries;

              m. Defendant failed to use reasonable care in ensuring the safety of the crew when

                  Defendant planned on executing an unusual amount of drills, knowing the life

                  boats would be lowered and raised several times from Deck 7, creating more

                  pressure on the equipment that is rarely used; and/or

              n. Other acts or omissions constituting a breach of the duty to use reasonable care

                  under the circumstances which are revealed through discovery.

      42. At all times material hereto, Defendant knew of the foregoing conditions causing the

          decedent’s injuries and death and did not correct them, or the conditions existed for a

          sufficient length of time so that Defendant, in the exercise of reasonable care under the

          circumstances, should have learned of them and corrected them.

      43. As a direct and proximate result of the negligence of Defendant, Diogenes Carpio died.

      WHEREFORE, Plaintiff demands damages as allowed under the Jones Act, 46 U.S.C. §

   30104, including but not limited to loss of support, past and future earnings, loss of services, loss

   of nurture and guidance of dependent children and family, and funeral expenses, and all other

   damages allowable by law, including punitive damages. Plaintiff demands a trial by jury for all

   issues so triable and any other relief this Court deems proper.

               COUNT II—UNSEAWORTHINESS AGAINST DEFENDANT NCL

          The Plaintiff re-alleges, adopts, and incorporates by reference the allegations in



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   paragraphs one (1) through thirty eight (38) as though alleged originally herein.

      44. On July 20, 2016, Diogenes Carpio was employed by Defendant NCL as a seaman and

          was a member of the crew on aboard the Norwegian Breakaway. The vessel was in

          navigable waters in Bermuda.

      45. At all times material hereto, the vessel was owned, managed, operated and/or controlled

          by Defendant.

      46. Defendant NCL had the absolute non-delegable duty to provide decedent Diogenes

          Carpio with a seaworthy vessel. When equipment fails under normal use, a presumption

          arises that the equipment was defective and hence unseaworthy. See Villers Seafood Co.,

          Inc. v. Vest, 813 F.2d 339, 342 (11th Cir. 1987).

      47. On July 20, 2016, Defendant breached that duty to decedent by providing him with an

          unseaworthy vessel on which to work as a seaman.

      48. On July 20, 2016, the unseaworthiness of Defendant's vessel was a legal cause of injuries

          and damages to decedent Diogenes Carpio by reason of the following:

              a. The vessel was rendered unsafe and unfit, due to the conditions created by

                  Defendant, as follows: (1) Having a defective and/or faulty lifeboat system,

                  including but not limited to the davit and worn down tether and wire cord, making

                  the operation of the lifeboat system not only unfit for its intended purpose, but in

                  such a condition to be dangerous and place those who utilize the lifeboat system

                  at risk for serious injury or death; (2) The vessel was unsafe and unfit due to the

                  conditions created by Defendant's conduct; (3) The job methods and procedures

                  were not reasonably fit for the intended purpose as it posed an unreasonable risk

                  of injury; (4) Due to an unsafe working environment; (5) By the presence of a



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                lifeboat system not reasonably fit for its intended purpose; (6) By the total

                disregard for the lives and safety of anyone utilizing the lifeboat system davit; (7)

                Defendant unreasonably required decedent and other crewmembers to work with

                inadequate and/or defective machinery and equipment, especially for the lifeboat

                drill; (8) Defendant unreasonably required decedent to participate in work

                activities with an inadequate and/or untrained crew, especially for the lifeboat

                drill, and the untimely rescue of the decedent and the other seamen that fell

                several stories into the ocean; (9) Defendant unreasonably failed to warn the

                decedent of the dangers associated with his work activities, especially for the life

                boat drill; (10) Defendant failed to provide decedent and his fellow crewmembers

                with proper training and/or supervision with respect to work activities, especially

                for the lifeboat drill and the untimely rescue of the decedent; (11) Defendant

                unreasonably failed to provide adequate manpower to perform the work activities

                aboard the vessel, especially for the lifeboat drill and the untimely rescue of the

                decedent; (12) Defendant unreasonably created an unsafe work environment; (13)

                Defendant unreasonably perpetuated an unsafe work environment; (14) Defendant

                created a working environment where crew members are discouraged and/or

                unable to assist each other with duties; and (15) Defendant perpetuated an unsafe

                work environment where crew members were discouraged and/or unable to assist

                each other in work duties; all of which caused decedent to become injured.

            b. The vessel was not fit for its intended purpose;

            c. The vessel lacked proper equipment and machinery, which was demonstrated by

                having a defective and/or faulty lifeboat system, including but not limited to the



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                  davit and worn down tether and wire cord;

              d. The vessel's crew was not properly trained, instructed or supervised, which is

                  demonstrated by the untimely rescue effort after the decedent fell into the water;

              e. The vessel did not have a fit crew;

              f. Failure to conduct proper job analysis and risk of harm analysis;

              g. The vessel did not have adequate manpower for the tasks being performed; and/or

              h. The crew and decedent were overworked to the point of being exhausted and not

                  physically fit to carry out their duties.

      49. As a direct result of the unseaworthiness of the vessel mentioned above, Diogenes Carpio

          died.

       WHEREFORE, Plaintiff demands damages as allowed under the General Maritime Law,

   including but not limited to loss of support, past and future earnings, loss of services, loss of

   nurture and guidance of dependent children and family, and funeral expenses, and all other

   damages allowable by law, including punitive damages. Plaintiff demands a trial by jury for all

   issues so triable and any other relief this Court deems proper.

    COUNT III - DEATH ON THE HIGH SEAS ACT (46 U.S.C. § 30301et seq.) AGAINST
                              ALL DEFENDANTS

          The Plaintiff re-alleges, adopts, and incorporates by reference the allegations in

   paragraphs one (1) through thirty eight (38) as though alleged originally herein.

      50. At all times material hereto, Defendants owed Diogenes Carpio a duty of reasonable care.

      51. On July 20, 2016, Diogenes Carpio died due to the fault and negligence of Defendants,

          their employees, and/or agents, and due to the unseaworthiness of the vessel as follows:

              a. Failure to use reasonable care to provide and maintain a safe place to work for

                  Diogenes Carpio, fit with proper and adequate machinery, crew and equipment,


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                including and especially the equipment and machinery of the lifeboat system, as

                well as the crew involved in the life boat drill;

            b. Defendants failed to update and modernize the shipboard equipment to eliminate

                the unsafe and dangerous conditions that developed;

            c. Defendants failed to properly maintain the equipment involved, leading to failure

                of the lifeboat system, including but not limited to the tethering and the davit wire

                cord used to lower and raise the lifeboat, rendering the operation of the lifeboat

                unsafe and dangerous, and unfit for its intended purpose;

            d. Defendants failed to properly instruct and train the crew members to make sure

                the equipment involved was properly inspected for dangers, and properly operated

                before each and every use;

            e. Defendants failed to ascertain the cause of prior similar accidents so as to take

                measures to prevent their recurrence, and more particularly decedent’s accident;

            f. Failure to provide a safe place to work in that the lifeboat operation was not

                performed in a safe manner;

            g. Defendants continued to utilize the lifeboat system even with knowledge of the

                faulty and unsafe equipment;

            h. Defendants failed to provide adequate instruction and supervision by failing to

                timely alert the crew members of the actual and on-going emergency when the

                decedents and other seamen fell several stories into the ocean;

            i. Defendants failed to use reasonable care in ensuring the safety of the crew when

                Defendant planned on executing an unusual amount of drills, knowing the life

                boats would be lowered and raised several times from Deck 7, creating more



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                pressure on the equipment that is rarely used;

            j. Failure to promulgate and enforce reasonable rules and regulations to insure the

                safety and health of the employees and more particularly Diogenes Carpio, while

                engaged in the course of his employment on said vessel;

            k. Failure to use reasonable care to maintain the vessel and its equipment;

            l. Failure to provide adequate crew in terms of numbers and/or training for the

                operations undertaken at the time of the subject incident;

            m. Failure to provide and utilize adequate safety devices at the time of the subject

                incident;

            n. Defendants used outmoded work methods and procedures and neglected modern

                material handling techniques;

            o. Defendants failed to provide Plaintiff with mechanized aids, commonly available

                in other heavy industries;

            p. Failing to adequately manage the vessel’s crew;

            q. Failure to utilize proper equipment;

            r. Failure to provide reasonable and adequate aftersales customer support;

            s. Failure to properly and adequately inspect the lifeboat system in accordance with

                required SOLAS, IMO and other applicable industry standards, as well as

                maintenance, repairs, technical help and crew training; and/or

            t. Other acts or omissions constituting a breach of the duty to use reasonable care

                under the circumstances which are revealed through discovery.

      52. As a result of the negligence of Defendants, its agents and employee and/or the

         unseaworthiness of the vessel, Diogenes Carpio died. Diogenes Carpio’s survivors, his



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          wife Jelen Carpio, and his two children Terence Jude Carpio, 9 years old and Denise

          Carpio, 6 years old, sustained pecuniary losses as allowed by law.

      WHEREFORE, Plaintiff demands damages as allowed under the Death on the High Seas

   Act, 46 USC §30301 et seq., and/or any other applicable wrongful death and/or survival act,

   including but not limited to pecuniary losses, loss of support, past and future earnings, loss of

   services, loss of nurture and guidance of dependent children and family, funeral expenses, and all

   other damages allowable by law. Plaintiff demands a trial by jury for all issues so triable, and

   any other relief this Court deems proper.

       COUNT IV – WRONGFUL DEATH UNDER THE GENERAL MARITIME LAW
                         AGAINST DEFENDANT NCL

          The Plaintiff re-alleges, adopts, and incorporates by reference the allegations in

   paragraphs one (1) through thirty eight (38) as though alleged originally herein.

      53. On July 20, 2016, the decedent was employed by Defendant as a seaman and was a

          member of the crew on aboard the Norwegian Breakaway. The vessel was in navigable

          waters in Bermuda.

      54. Pursuant to the General Maritime law, Defendant owed decedent a duty of reasonable

          care for his safety, including care to maintain the vessel in a reasonably safe condition

          and to operate the vessel safely and to provide a reasonably safe working environment.

      55. On July 20, 2016, decedent Diogenes Carpio suffered severe injuries, pre-death conscious

          pain and suffering, and ultimately died due to Defendant, and/or its agents, servants,

          and/or employees, breaching its duty to decedent through the following acts and/or

          omissions:

              a. Defendant failed to use reasonable care to provide and maintain a proper and

                  adequate machinery, crew and equipment, including and especially the equipment


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                and machinery for the lifeboat system, as well as the crew involved in the life boat

                drill and the crew involved with responding to the actual emergency at issue;

            b. Defendant failed to update and modernize the shipboard equipment to eliminate

                the unsafe and dangerous conditions that developed;

            c. Defendant failed to properly maintain the equipment involved leading to failure of

                equipment, rendering the operation of the lifeboat system unsafe and dangerous,

                and unfit for its intended purpose;

            d. Defendant failed to properly instruct and train the crew members to make sure the

                equipment involved was properly inspected for dangers, and properly operated

                before use;

            e. Defendant failed to ascertain the cause of prior similar accidents so as to take

                measures to prevent their recurrence, and more particularly decedent’s accident;

            f. Defendant used outmoded work methods and procedures and neglected modern

                material handling techniques;

            g. Defendant failed to provide decedent with mechanized aids, commonly available

                in other heavy industries;

            h. Failure to provide a safe place to work in that the lifeboat system and operation

                was not performed in a safe manner;

            i. Defendant continued to utilize the lifeboat system even with knowledge of the

                faulty and unsafe equipment;

            j. Defendant failed to provide adequate instruction, and supervision by failing to

                timely alert the crew members of the actual and on-going emergency when the

                decedent and other seamen fell several stories into the ocean;



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             k. Defendant failed to provide decedent with a seaworthy vessel;

             l. Defendant failed to use reasonable care to provide decedent with a reasonably

                 safe workplace;

             m. Defendant failed to promulgate and enforce reasonable rules and regulations to

                 insure the safety and health of the employees and more particularly the decedent,

                 while engaged in the course of his employment on said vessel;

             n. Defendant failed to provide adequate instruction, and supervision to crew

                 members and decedent;

             o. Defendant failed to provide prompt, proper and adequate medical care which

                 aggravated decedent’s injuries and caused him additional pain and disability;

             p. Defendant failed to use reasonable care in ensuring the safety of the crew when

                 Defendant planned on executing an unusual amount of drills, knowing the life

                 boats would be lowered and raised several times from Deck 7; and/or

             q. Other acts or omissions constituting a breach of the duty to use reasonable care

                 under the circumstances which are revealed through discovery.

      56. At all times material hereto, Defendant knew of the foregoing conditions causing the

         decedent’s injuries and death and did not correct them, or the conditions existed for a

         sufficient length of time so that Defendant, in the exercise of reasonable care under the

         circumstances, should have learned of them and corrected them.

      57. As a direct and proximate result of the negligence of Defendant, the decedent was injured

         about his body and extremities, consciously suffered physical pain and suffering, and

         then died.

      WHEREFORE, Plaintiff demands damages as allowed under the Jones Act, 46 U.S.C. §



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   30104, and/or the General Maritime Law, including but not limited to loss of support, past and

   future earnings, loss of services, loss of nurture and guidance of dependent children and family,

   pre-death pain and suffering, and funeral expenses, and all other damages allowable by law,

   including punitive damages. Plaintiff demands a trial by jury for all issues so triable and any

   other relief this Court deems proper.

      COUNT V – WRONGFUL DEATH UNDER THE GENERAL MARITIME LAW
     AGAINST DEFENDANTS DAVIT INTERNATIONAL, DAVIT DE AND HATECKE

          The Plaintiff re-alleges, adopts, and incorporates by reference the allegations in

   paragraphs one (1) through thirty eight (38) as though alleged originally herein.

      58. Pursuant to the General Maritime law, Defendants Davit International, Davit DE and

          Hatecke owed decedent Diogenes Carpio a duty of reasonable care.

      59. On July 20, 2016, decedent suffered severe injuries, pre-death conscious pain and

          suffering, and ultimately died due to Defendants, and/or their agents, servants, and/or

          employees, breaching its duty to decedent through the following acts and/or omissions:

              a. Failure to provide a properly working lifeboat system, including but not limited to

                  the davit and/or related equipment which failed;

              b. Failure to adequately service, install, repair, maintain and/or inspect the subject

                  lifeboat system, including but not limited to the davit and/or related equipment

                  which failed;

              c. Failure to properly warn of the dangers which befell the decedent;

              d. Failure to have proper manuals, or policies or procedures designed to prevent the

                  incident which occurred;

              e. Defendants failed to update and modernize the shipboard equipment to eliminate

                  the unsafe and dangerous conditions that developed;


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            f. Defendants failed to properly maintain the equipment involved leading to failure

                 of equipment, rendering the operation of the lifeboat system unsafe and

                 dangerous, and unfit for its intended purpose;

            g. Defendants failed to properly instruct and train the crew members to make sure

                 the equipment involved was properly inspected for dangers, and properly operated

                 before use;

            h. Defendants failed to ascertain the cause of prior similar accidents so as to take

                 measures to prevent their recurrence, and more particularly decedent’s accident;

            i. Defendants used outmoded work methods and procedures and neglected modern

                 material handling techniques;

            j. Defendants failed to provide decedent with mechanized aids, commonly available

                 in other heavy industries;

            k. Defendants continued to utilize the lifeboat system even with knowledge of the

                 faulty and unsafe equipment;

            l. Defendants failed to provide adequate instruction, and supervision to crew

                 members and Plaintiff;

            m. Failure to inspect or investigate the davit for defects and/or dangers and/or

                 hazards;

            n.   Failure to provide adequate warnings for prospective users and handlers of the

                 davit, including the decedent;

            o. Failure to provide reasonable and adequate aftersales customer support;

            p. Failure to properly and adequately inspect the lifeboat system in accordance with

                 required SOLAS, IMO and other applicable industry standards, as well as



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                  maintenance, repairs, technical help and crew training; and/or

              q. Other acts or omissions constituting a breach of the duty to use reasonable care

                  under the circumstances which are revealed through discovery.

      60. At all times material hereto, Defendants knew of the foregoing conditions causing the

          Plaintiff’s injuries and death and did not correct them, or the conditions existed for a

          sufficient length of time so that Defendants, in the exercise of reasonable care under the

          circumstances, should have learned of them and corrected them.

      61. As a direct and proximate result of the negligence of Defendant, the decedent was injured

          about his body and extremities, consciously suffered physical pain and suffering, and

          then died.

      WHEREFORE, Plaintiff demands damages as allowed under the Jones Act, 46 U.S.C. §

   30104, and/or the General Maritime Law, including but not limited to loss of support, past and

   future earnings, loss of services, loss of nurture and guidance of dependent children and family,

   pre-death pain and suffering, and funeral expenses, and all other damages allowable by law,

   including punitive damages. Plaintiff demands a trial by jury for all issues so triable and any

   other relief this Court deems proper.

                       COUNT VI – STRICT LIABILITY AGAINST
                  DEFENDANTS DAVIT INTERNATIONAL AND DAVIT DE

          The Plaintiff re-alleges, adopts, and incorporates by reference the allegations in

   paragraphs one (1) through thirty eight (38) as though alleged originally herein.

      62. Defendant Davit International and/or Davit DE manufactured, designed, marketed, sold,

          and distributed a Davit D-NPS.MP which was installed and incorporated into the lifeboat

          system on the Norwegian Breakaway. Said davit failed to safely operate as intended. But

          for the failure of this davit and/or related equipment, decedent would not have suffered


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         the loss of life.

      63. At all times material hereto, Davit International and/or Davit DE had a duty to

         manufacture, design, distribute, market, and sell a non-defective and properly designed

         and manufactured davit that was suitable for normal and foreseeable usage. Defendant’s

         respective duties included authorizing the manufacture, design, distribution, marketing,

         and sale of a properly designed and manufactured davit capable of safely withstanding

         known, foreseeable forces associated with safe handling and normal usage.

      64. While using the davit with appropriate care, the davit malfunctioned and created a

         hazardous situation whereby decedent was killed due to the malfunction of the davit.

      65. The condition of the subject davit from the time it left its place of manufacture through

         the time of decedent’s accident, was defective and unreasonably dangerous to intended

         and foreseeable users, including decedent, in one or more of the following ways and for

         one or more of the following reasons:

         a. The davit onboard the Norwegian Breakaway which failed to work properly, was

             defectively designed from a handling standpoint such that it had an unreasonably

             dangerous propensity to fail under foreseeable handling and use conditions and failed

             to have an adequate support structure to prevent the type of incident which occurred;

         b. The davit was unaccompanied by any sufficient warning of the danger of malfunction

             from the use of the device in a foreseeable manner, such that the danger of

             automatically starting and creating a dangerous situation would be communicated to

             the users of the device;

         c. The davit was improperly designed, manufactured, and assembled, thus causing the

             device to have an unreasonable and dangerous propensity to malfunction when used



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              or handled under foreseeable conditions, including foreseeable drills;

          d. The davit was improperly and inadequately tested;

          e. The hazards of the davit were improperly determined;

          f. The davit lacked adequate and sufficient warnings and instructions about the risks,

              dangers, and harms presented by the device and reasonable means to reduce such

              risks, dangers, and harms; and/or

          g. The davit did not perform as safely as an ordinary consumer would expect when used

              as intended and in manners reasonably foreseeable to those in the chain of

              distribution of the davit.

      66. The unreasonably dangerous nature of the defective condition of the davit created a high

          risk that the device would be involved in, and it was involved in, a malfunction resulting

          in the loss of life.

      67. As a direct and proximate result of the defects, and subsequent malfunction, in the davit,

          the decedent was killed, suffered physical pain, mental anguish, loss of enjoyment of life,

          disability, disfigurement, post traumatic stress disorder and other mental and/or nervous

          disorders, aggravation of any previously existing conditions there from, suffered physical

          handicap, lost earnings and earning capacity both past and future.        Plaintiff’s damages

          further include loss of support, past and future earnings, loss of services, loss of nurture

          and guidance of dependent children and family, pre-death pain and suffering, and funeral

          expenses, and all other damages allowable by law, including punitive damages.

          WHEREFORE, the Plaintiff demands judgment for all damages recoverable under the

   law against the Defendants and demands trial by jury.




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         COUNT VII – BREACH OF IMPLIED WARRANTY OF FITNESS FOR
     MERCHANTABILITY AND FITNESS FOR A PARTICULAR PURPOSE AGAINST
            DEFENDANTS DAVIT INTERNATIONAL AND DAVIT DE

      The Plaintiff re-alleges, adopts, and incorporates by reference the allegations in paragraphs

   one (1) through thirty eight (38) as though alleged originally herein.

      68. At the time of the sale, marketing, distribution, manufacture, and design of the davit

          Defendant Davit International and/or Davit DE had extensive knowledge of the purpose

          for which the product was to be used. The Defendants knew and/or should have known

          and expected that their expertise, skill and judgment were being relied upon to select,

          sell, distribute, market, manufacture, and design a safe and suitable product which would

          not injure its user under normal foreseeable circumstances and usage. Davit International

          and/or Davit DE implied and warranted the davit device as being safe and fit for the

          purpose decedent utilized davit for.

      69. Davit International and/or Davit DE breached its implied warranty of fitness of safe user

           usage by distributing, delivering, marketing, and/or selling the defective davit which was

           unsafe and dangerous, and not reasonably fit for the ordinary purpose for which the

           davit is used.

      70. As a direct and proximate cause of the Defendants Davit International’s and/or Davit

           DE’s breach of their implied warranty, decedent was killed when the davit designed,

           manufactured and sold by Defendant Davit International and/or Davit DE

           malfunctioned.

      71. In addition, as a direct and proximate cause of the Defendant Davit International’s

           and/or Davit DE’s breach of their implied warranty, the decedent was killed, was injured

           about his body and extremities, suffered physical pain, mental anguish, loss of



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           enjoyment of life, disability, disfigurement, post-traumatic stress disorder and other

           mental and/or nervous disorders, aggravation of any previously existing conditions there

           from, suffered physical handicap, lost earnings and earning capacity both past and

           future. Plaintiff’s damages further include loss of support, past and future earnings, loss

           of services, loss of nurture and guidance of dependent children and family, pre-death

           pain and suffering, and funeral expenses, and all other damages allowable by law,

           including punitive damages.

          WHEREFORE, the Plaintiff demands judgment for all damages recoverable under the

   law against the defendant and demands trial by jury.

                                                  Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on August 28, 2018, I electronically filed the foregoing
   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
   is being served this day on all counsel of record or pro se parties identified on the attached
   Service List in the manner specified, either via transmission of Notices of Electronic Filing
   generated by CM/ECF or in some other authorized manner for those counsel or parties who are
   not authorized to electronically receive Notices of Electronic Filing.



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                                                    By: /s/ Carol L. Finklehoffe
                                                        CAROL L. FINKLEOFFE

                                           SERVICE LIST

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